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NO 106 (Rev. 04/10) Application for a Search Warrant                                                ,                                       ,W rJJ

                                        UNITED STATES DISTRICT C
                                                                        for the
                                                           Southern D istrict of California
                                                                                                          RI         NOV 2 ·5 2019   I
                                                                                                           CLF.:HK US UISTHI C I COURT
                                                                                                        SOUTH!:HN 0 1S lHICT OF CALIFORNIA
                                                                                                        BY                          DEPUTY
               In the Matter of the Search of                              )
          (Briefly describe the property to be searched                    )
           or identify the person by name and address;
   Black and Grey Moto Smartphone cellular phone
                                                                           )
                                                                           )
                                                                                       Case No.
                                                                                                  19MJ5 268
                                                                           )
       Seized as FP&F No. 2020565800002701
                                                                           )
                  ("Target Device")
                                               APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perj ury that I have reason to believe that on the following person or property (identify the person or describe the
P'§f{J"'-¾.Wat1isr¥fi ·~tet and give irs locarion)-



located in the            Southern             Di strict of                    California           , there is now concealed (idemify the
person or describe rhe properry to be sei:ed):
  See Attachment B


           T he basi s for the search under Fed. R. Crim . P. 41 (c) is (check one or more):
                  i   evidence of a crim e;
                  0 contraband, fruits of cri me, or other items illegally possessed;
                  0 property desi gned for use, intended for use, or used in committing a crime ;
                  0 a person to be arrested or a person who is unlawfully restrained .

           T he search is related to a violation of:

              Code Section                                                              Offense Description
        Title 8, United States Code §                  Bringing in Illegal Aliens Without Presentation(a)(2)(B)(iii)
        1324


           The app li cation is based on these facts:
          See Attached Affidavit


            ii   Continued on the attached sheet.
            0 Delayed notice of _ _ days (give exact endi ng date if more than 30 days: _ _ _ _ _ ) is requested
                 under 18 U.S.C. § 3 103a, the bas is of which is set forth on the attached sheet.


                                                                                            a_~         pplicanl ·s signature

                                                                                  Giancarlo Lugo, Border Patrol Agent, U.S. Border Pa!_r_QI _
                                                                                                   Printed name and title

  Sworn to before me and signed in my presence.


  Date:             11 /25/2019


  City and state: _San Diego, California                     ____                   he Honorable Jill L. Burkhardt, U.S. Magistr~te Judge
                                                                                                     Printed name and title
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 1                                              AFFIDAVIT
 2              I, Giancarlo Lugo, being duly sworn, hereby state as follows:
 3                                           INTRODUCTION
 4              1.    I submit this affidavit in support of an application for warrant(s) to search the
 5 II following electronic device(s):
 6                           Black and Grey Moto Smartphone cellular phone
 7                           Seized as FP&F No. 2020565800002701
                             ("Target Device")
 8
 9
          the "Target Device(s)", as further described in Attachment(s) A, and to seize evidence of
1o 11
          crime, specifically, violations of Title 8, United States Code, Section 1324 (Alien
11   II


          Smuggling), as further described in Attachment B.
12   II




13              2.    The requested warrant(s) relate(s) to the investigation and prosecution of
14 Nelson Cruz AUDELO-Macareno for smuggling illegal aliens from Mexico into the United
15 States. The Target Device(s) are currently in the custody of Department of Homeland
16 Security, Customs and Border Protection, United States Border Patrol, San Diego Sector.

17              3.    The facts set forth in this affidavit are based upon my personal observations,
18 my training and experience, and information obtained from various law enforcement
19 personnel and witnesses, including my review of reports prepared by other law enforcement
20 officers and agents. This affidavit is intended to show that there is sufficient probable cause
21        for the requested warrant( s) and does not purport to set forth all of my knowledge of the
22        investigation into this matter. Dates and times are approximate.

23
24                                  TRAINING AND EXPERIENCE
                4.    I have been employed by the USBP since 2008, and am currently assigned to
25
          the San Diego Sector Prosecutions Unit. I graduated from the Border Patrol Basic Academy
26
27 at the Federal Law Enforcement Training Center in Artesia, New Mexico. I am a Federal
   Law Enforcement Officer within the meaning of Rule 41 (a)(2)(C), Federal Rules of
28
   Criminal Procedure and have been a Federal Law Enforcement Officer for ten years. I am
                                                     1
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     authorized by Rule 41 ( a) Federal Rules of Criminal Procedure to make applications for
 1
     search and seizure warrants and serve arrest warrants. I have experience and have received
 2
     training with respect to conducting investigations of immigration and criminal v1olations of
 311 Titles 8, 18, 19, and 21 of the United States Code.
 4
           5.     My current duties involve the preparation of criminal and administrative cases
 5
     for prosecution, including the use of linking related subjects and information via electronic
 6
     equipment and telephones. In the course of my duties, I investigate and prepare for
 7
     prosecution cases against persons involved in the inducement, transportation, and harboring
 8
     of illegal aliens into and within the United States; and, the utilization of illegally-obtained,
 9
     counterfeit, altered or genuine immigration documents by illegal aliens to illegally gain
10
     entry or remain in the United States.
11
12         6.     During my tenure as a Border Patrol Agent, I have participated in the

13   investigation of a number of cases involving the smuggling of aliens from Mexico into the

14 United States and transportation of illegal aliens within the United States, which have
15 resulted in the issuance of arrest warrants, search warrants, seizure warrants, and the
16 indictments of persons for alien smuggling, including drivers, passengers, and guides.
17         7.     Through the course of my training, investigations, and conversations with
18   other law enforcement personnel, I have gained a working knowledge of the operational
19 habits of alien smugglers and alien transporters, in particular those who attempt to smuggle
20   aliens into the United States from Mexico and transport them throughout the Southern
21   District of California. I am aware that it is a common practice for alien smugglers to work
22   in concert with other individuals and to do so by utilizing cellular telephones to maintain
23   communications with co-conspirators and/or illegal aliens in order to further their criminal
24   activities. Because they are mobile, the use of cellular telephones permits alien smugglers
25   and transporters to easily carry out various tasks related to their smuggling activities,
26   including, e.g., remotely monitoring the progress of the aliens while the aliens are in transit,
27 providing instructions to transporters, guiding aliens to specific pick up locations, warning
28   accomplices about law enforcement activity in the area and the status of check-point

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 1 II operations, and communicating with co-conspirators who guide aliens, coordinate drop off
 2 II locations, and/or operate alien stash houses.
 3 II      8.     The smuggling of aliens generates many types of evidence, including, but not
 4 II limited to, cellular phone-related evidence such as voicemail messages referring to the
 5 II arrangements of travel, names, photographs, text messaging (via SMS or other
 6 II applications), and phone numbers of co-conspirators and illegal aliens.           For example,
 7 II drivers and passengers responsible for transporting illegal aliens are typically in telephonic
 8 II contact with co-conspirators immediately prior to and/or following the crossing of the
 9 II illegal aliens at the border, at which time they receive instructions, including where to pick-
10 II up the illegal aliens for transportation into the United States and where to take the illegal
11 II aliens after crossing into the United States.       These communications may also include
12 II locations for delivery to stash houses and/or sponsors. Illegal aliens also are typically in
13 II telephonic contact with co-conspirators prior to and following their crossing in order to
14 make smuggling arrangements, receive instructions, and repo1i their locations after
15 crossing.
16 II      9.     Based upon my training, experience, and consultations with law enforcement
17 II officers experienced in narcotics trafficking investigations, and all the facts and opinions
18 II set forth in this affidavit, I know that cellular telephones (including their Subscriber Identity
19 II Module (SIM) card(s)) can and often do contain electronic evidence, including, for example,
20 II phone logs and contacts, voice and text communications, and data, such as emails, text
21 II messages, chats and chat logs from various third-party applications, photographs, audio
22 II files, videos, and location data. In particular, in my experience and consultation with law
23 II enforcement officers experienced in alien smuggling investigations , I am aware that
24 II individuals engaged in alien smuggling may store photos and videos on their cell phones
25 II that reflect or show co-conspirators and associates engaged in alien smuggling, as well as
26 II images and videos with geo-location data identifying alien smuggling transportation routes,
2711 and communications to and from recruiters and organizers.
28

                                                      3
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            10.    This information can be stored within disks, memory cards, deleted data,
 2 II remnant data, slack space, and temporary or permanent files contained on or in the cellular
 311 telephone. Specifically, searches of cellular telephones may yield evidence :
 4
            a.     tending to indicate efforts to smuggle aliens from Mexico into the United
 5                 States;
 6
            b.     tending to identify accounts, facilities, storage devices, and/or services-
 7                 such as email addresses, IP addresses, and phone numbers-used to
                   facilitate alien smuggling and transportation of smuggled aliens;
 8
 9          C.     tending to identify co-conspirators, criminal associates, or others involved
                   in alien smuggling, or transportation of smuggled aliens;
10
11          d.     tending to identify travel to or presence at locations involved in the
12                 smuggling, transportation, or harboring of illegal aliens, such as stash
                   houses, load houses, or delivery points;
13
            e.     tending to identify the user of, or persons with control over or access to,
14
                   the Target Device(s); and/or
15
16          f.     tending to place in context, identify the creator or recipient of, or establish
                   the time of creation or receipt of communications, records, or data involved
17                 in the activities described above .
18
19
                           FACTS SUPPORTING PROBABLE CAUSE
20
            11.    On November 23, 2019, Border Patrol Agent H. Miller, who was wearing a
21
     "full rough duty uniform, was conducting assigned duties in Imperial Beach Border Patrol
22
   II Station's area of responsibility. At approximately 9:34 PM, the Joint Harbor Operations
23
   II Command (JHOC) operator notified, via service radio, that a Personal Water Craft (PWC)
24
   IIwith two individuals on board, was north bound from Mexican waters heading towards U. S.
25
     IIterritory waters. JHOC advised that a single individual was dropped off on the beach. Agent
26
   IIMiller responded to the area and encountered a single individual, later identified as material
27
   IIwitness, Jose Concepcion CORRAL-Ventura, lying face down wearing a bright orange
28
   IIfloatation device. Agent Miller instructed CORRAL to approach her location because there
                                                   4
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 1 II was a tall fence in between them. CORRAL climbed the fence and Agent Miller conducted
 2 II an immigration inspection. CORRAL stated he is a citizen of Mexico without documents
 3 II that would allow him to enter or remain in the United States legally. At approximately 9:55
 4 II PM, Agent Miller placed CORRAL, under arrest.
 5 II          12.   JHOC continued observation of the PWC attempting to return back to Mexico
 6 II where it appeared the PWC was having engine problems as it kept stopping abruptly in the
 7 II middle of the ocean. JHOC notified that the PWC had made several stops along its way
 8 II back to Mexico. At approximately 10: 13 PM, JHOC notified that they had temporarily lost
 9 II visual of the PWC as it made its way south to an area known to Border Patrol Agents as the
10 II "River Mouth."
11             13.   At approximately 10:30 PM, United States Coast Guard (USCG) Station San
12 II Diego was launched to respond to a report of a disabled PWC. USCG responded to the area
13 II and encountered the PWC. U.S. Coast Guard Petty Officer Third Class S. Wheeless secured
14 II the individual, towed the PWC, and headed back to San Diego Bay.
15 II          14.   Border Patrol Agent S. Lebron was conducting assigned duties in the Imperial
16 II Border Patrol Station's area of responsibility. At approximately 12:06 AM, Agent Lebron
l 7 IIresponded to the U .S. Coast Guard request for an immigration inspection. Upon arrival,
18 II Agent Lebron was notified by Petty Officer S. Wheeless that he had encountered the
19 II individual in the water onboard a broken down PWC. The encounter is approximately one
20 II and a half miles west of as the "River Mouth" and approximately one mile north of the
21 II United States / Mexico International Boundary. Agent Lebron approached the individual ,
22 II identified himself as a Border Patrol agent, and conducted an immigration inspection. The
23 II individual, later identified as the defendant Nelson Cruz AUDELO-Macareno, stated to
24 II being a citizen of Mexico without documents that would allow him to enter or remain in the
25 II United States legally. At approximately 1 :05 AM, Agent Lebron placed AUDELO, under
2611 arrest.   AUDELO was in possession of a cell phone (Target Device(s)) at the time of arrest.
27
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 1           15.   Nelson Cruz AUDELO-Macareno was read and understood his Miranda
 2 II Rights.   AUDELO stated that he was willing to answer questions without an attorney
 3 II present. AUDELO admitted that he was going to get paid $1,000 USD for smuggling an
 4 II individual on a Jet Ski on today's event. AUDELO stated that the owner of the Jet Ski, was
 5 II the person that organized the event. AUDELO stated that he was instructed to transport an
 6 II individual into the United States and drop him off just north of the Imperial Beach Pier in
 7 II San Diego, California.     AUDELO stated that while making his way back south after
 8 II dropping off the individual, the Jet Ski stopped working and he could not make it back into
 9 II Mexico.
10           16.   Material witnesses CORRAL, stated he is a citizen of a country other than the
11 II United States and do not have any immigration documents which would allow him to enter
12 II or remain in the United States legally.        CORRAL, stated they were going to pay
13 II approximately $15 ,000 USD to be smuggled into the United States.             CORRAL was
14 II presented a photographic line-up and was not able to positively identify the driver of the Jet
15 II Ski.   Nelson Cruz AUDELO-Macareno's phone (Target Device(s)) was subsequently
16 seized.

17           17.   In my training and experience, alien smugglers and transporters may be
18 II involved in the planning and coordination of alien smuggling event in the days and weeks
19 II prior to an event. Co-conspirators are also often unaware of a defendant's a1Test and will
20 II continue to attempt to communicate with a defendant after their arrest to determine the
21 II whereabouts of the aliens. Accordingly, I request permission to search the Target Device(s)
22 II for data beginning from October 24, 2019 through November 24, 2019, which was the

2311 day following the arrest.
24
25                                      METHODOLOGY
26           18.    It is not possible to determine, merely by knowing the cellular telephone's
27 II make, model and serial number, the nature and types of services to which the device is
28 II subscribed and the nature of the data stored on the device. Cellular devices today can be

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 1 II simple cellular telephones and text message devices, can include cameras, can serve as
 2 II personal digital assistants and have functions such as calendars and full address books and
 3 II can be mini-computers allowing for electronic mail services, web services and rudimentary
 4 II word processing. An increasing number of cellular service providers now allow for their
 5 II subscribers to access their device over the internet and remotely destroy all of the data
 6 II contained on the device. For that reason, the device may only be powered in a secure
 7 II environment or, if possible, started in "flight mode" which disables access to the network.
 8 II Unlike typical computers, many cellular telephones do not have hard drives or hard drive
 9 II equivalents and store information in volatile memory within the device or in memory cards
10 II inserted into the device. Current technology provides some solutions for acquiring some of
11 II the data stored in some cellular telephone models using forensic hardware and software.
12 II Even if some of the stored information on the device may be acquired forensically, not all
13 II of the data subject to seizure may be so acquired. For devices that are not subject to forensic
14 II data acquisition or that have potentially relevant data stored that is not subject to such
15 II acquisition, the examiner must inspect the device manually and record the process and the
16 II results using digital photography. This process is time and labor intensive and may take
17 II weeks or longer.
18 II       19.      Following the issuance of this warrant, a case agent familiar with the
19 II investigation will collect the subject cellular telephone and subject it to analysis. All
20 II forensic analysis of the data contained within the telephone and its memory cards will
21 II employ search protocols directed exclusively to the identification and extraction of data
22 II within the scope of this warrant.
23         20.      Based on the foregoing, identifying and extracting data subject to seizure
24 II pursuant to this warrant may require a range of data analysis techniques, including manual
25 II review, and, consequently, may take weeks or months. The personnel conducting the
26 II identification and extraction of data will complete the analysis within 90 days, absent further

2711 application to this court.
28

                                                  7
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 1                        PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 2           21.    Law enforcement has previously attempted to obtain the evidence sought by
 3 II this warrant through the owners' consent. Consent was not given.
 4
 5                                         CONCLUSION
 6           22.   Based on the facts and information set forth above, there is probable cause to
 7 II believe that a search of the Target Device(s) will yield evidence of alien smuggling
 8 II violations of Title 8, United States Code, Sections 1324.
 9           23.   Because the Target Device(s) was seized at the time of (AUDELO'S) arrest
10 II and have been securely stored since that time, there is probable cause to believe that such
11 II evidence continues to exist on the Target Device(s). As stated above, I believe that the
12 II appropriate date range for this search is from October 24, 2019 through November 24,
13 112019.
14           24.   Accordingly, I request that the Court issue warrants authorizing law
15 II enforcement to search the item(s) described in Attachment(s) A, and seize the items li sted
16 II in Attachment B using the above-described methodology.
17
18           I swear the foregoing is true and correct to the best of my knowledge and belief.
                                                                           (


19
20
                                                 CJ         ~
21                                            Giancarlo~o
                                              Border Patrol Agent
22
23   IISubscribed and sworn to before me this    25th day of November, 2019.

24
25
26
          ted States Magistrate Judge
27
28

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                                 ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

        Black and Grey Moto Smartphone cellular phone
        Seized as FP&F No. 2020565800002701
        ("Target Device")


Target Device is currently in the custody of the Department of Homeland Security,
Customs and Border Protection, United States Border Patrol, San Diego Sector.
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                                  ATTACHMENT B

                                ITEMS TO BE SEIZED

      Authorization to search the cellular telephone(s) described in Attachment(s) A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephone(s) for evidence
described below. The seizure and search of the cellular telephone(s) shall follow the
search methodology described in the affidavit submitted in support of the warrant(s).

       The evidence to be seized from the cellular telephone(s) will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of October 24, 2019 through November 24, 2019:

      a.     tending to indicate effo11s to smuggle aliens from Mexico into the United
             States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate alien smuggling and transp011ation of smuggled aliens;

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in alien smuggling, or transpo11ation of smuggled aliens;

      d.     tending to identify travel to or presence at locations involved in the
             smuggling, transportation, or harboring of illegal aliens, such as stash
             houses, load houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device(s); and/or

      f.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above,



which are evidence of violations of Title 8, United States Code, Section 1324.
